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                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                   Case No.: 2:17-cv-00595-EJF

                  Plaintiff,
                                                  NOTICE OF VOLUNTARY
 v.
                                                  DISMISSAL WITH PREJUDICE

 Arctic Circle Restaurants,
                                                  Assigned to Magistrate Judge Evelyn J. Furse
                  Defendant.


        PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41 (a)(1)(A)(i)

and DUCivR 54-1(b) and (d), Plaintiff, Trevor Kelley, hereby voluntarily dismisses this Action

with prejudice.



        RESPECTFULLY SUBMITTED on this 13th day of November, 2017.

                                                           /s/ James K. Ord, III
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                                            CERTIFICATE OF SERVICE
       I hereby certify that on this 13th day of November 2017 I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and caused a true
copy of the foregoing document to be served via e-mail to the following recipients:


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/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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